     Case 4:22-cv-00325-RH-MAF Document 117-12 Filed 03/29/23 Page 1 of 1




From:                      Weida, Jason
Sent:                      Monday, May 16, 2022 11:25 PM EDT
To:                        \"\"Pickle\"\",\"\" Devona;\" \"Brackett\"\",\"\" Matt;\" \"Chen\"\",\"\" Nai;Matt.Brackett@ahca.myflorida.com;
                           Devona.Pickle@ahca.myflorida.com; Nai.Chen@ahca.myflorida.com
CC:                        Sheeran, Andrew
Subject:                   Fwd: Lappert Expert Report Initial Draft
Attachments:               FloridaDraft2.0.docx


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From: patrick Lappert <patrick@lappertplasticsurgery.com>
Sent: Monday, May 16, 2022 11:23:32 PM
To: Weida, Jason <Jason.Weida@ahca.myflorida.com>
Subject: Fwd: Lappert Expert Report Initial Draft


    ---------- Original Message ----------
    From: patrick Lappert <patrick@lappertplasticsurgery.com>
    To: "Jason Weida, JD" <:jason.weida@ahca.myflorida.com>
    Date: May 13, 2022 10:17 PM
    Subject: Lappert Expert Report Initial Draft
    Jason,
    Sorry this is going out late in the day. It has been a frenzied two weeks.
    I have attached the initial draft so that your team can have a crack at it. I have the citations,
    and will supplement those as you see the need.
    Best,

    Patrick W. Lappert, MD
    Lappert Skin Care

    2941 Point Mallard Parkway, Suite-G

    Decatur, AL 35603


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